                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA, )
                          )                            DOCKET NO: 3:16cr201
    V.                    )                                 ORDER
                          )
FLORENCIO APREZA-GUERRERO )


This MATTER is before the court upon the Government’s Consent Motion to Dismiss

 The United States Attorney for the Western District of North Carolina moves to dismiss without
prejudice the charges against Florencio Apreza-Guerrero in the above-captioned Bill of
Indictment, because he has pleaded guilty to a related bill of information in 3:17cr66-FDW.

It is ORDERED that the motion is GRANTED.


                                        Signed: May 17, 2017




   Case 3:16-cr-00201-FDW-DCK            Document 188          Filed 05/17/17   Page 1 of 1
